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              U.S. District Court
            Middle District of Florida
                Tampa Division

           GOVERNMENT EXHIBIT

  Exhibit No.: 312

  Case No.: 8:22-cr-259-WFJ-AEP

  UNITED STATES OF AMERICA

  vs.

  OMALI YESHITELA, ET AL.


  Date Identified:                    __________

  Date Admitted:                   ____________
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